
REINHARDT, Circuit Judge,
dissenting:
This is a capital case in which the trial defense counsel, for reasons that are impossible to fathom, deliberately and knowingly refused to investigate the capital defendant’s abusive family background, the type of mitigating evidence that the Supreme Court has repeatedly emphasized is highly relevant to a jury’s decision whether to impose the death penalty. See, e.g., Wiggins v. Smith, 539 U.S. 510, 535, 123 S.Ct. 2527, 156 L.Ed.2d 471 (2003). In fact, in this case it was the only mitigating evidence by which counsel would have had any realistic chance of persuading the jury to spare his client’s life.
Because Richard Samayoa’s trial counsel refused to investigate the circumstances of his client’s upbringing, the jury that sentenced him to death never learned that he was raised under unimaginably horrific conditions: that he was the victim of constant and severe physical and psychological abuse, that his family environment was rife with sexual abuse of children, and that he had drugs pushed upon him by abusive adult relatives starting at an extremely young age. Samayoa’s counsel had no strategic justification for failing to obtain such evidence and present it to a jury, especially as, in light of Samayoa’s brutal offense and his past brutal crimes, the only hope of persuading the jury to spare his life was to explain his criminal behavior as a product of the truly depraved conditions which from the outset shaped his existence. The failure to introduce that evidence probably made his death sentence inevitable.
The mitigation case presented by Samayoa’s trial counsel not only failed to provide the jury with a single reason to spare Samayoa’s life, but likely contributed to some degree to its decision to order him executed. The incompetence of the psychological experts upon whom the defense relied to attempt to prove that Samayoa suffered from organic brain damage must have been evident to all, including the jurors: the “experts” made basic mathematical errors in tabulating test results, diagnosed Samayoa with a non-existent psychological condition,1 and presented the jury with a mislabeled, upside-down diagram of the human brain. The testimony of the prison guards called by the defense was equally without import: the guards simply testified that Samayoa was “above average,” for a prison worker.2 And the testimony of Samayoa’s mother and two sisters was of no assistance to him whatsoever: they testified that they loved Samayoa and would feel guilty if he were exeeut*931ed, because they helped turn him in. One sister stated that she would “understand” if the jury sentenced him to death, and both testified that until they learned Samayoa was the culprit they had believed that whoever committed the murders for which he was convicted should be executed. Obviously, such testimony could not possibly have served the purpose of swaying any juror that might have otherwise been inclined to sentence Samayoa to death.
In order to establish that he is entitled to relief based upon his trial attorney’s ineffective assistance, Samayoa must demonstrate both that counsel’s performance was deficient, and that the deficient performance prejudiced his chances of a verdict of less than death. Strickland v. Washington, 466 U.S. 668, 687, 104 S.Ct. 2052, 80 L.Ed.2d 674 (1984). Because there is no conceivable explanation for the deliberate and willful refusal of Samayoa’s trial counsel to investigate the physical and psychological abuse that permeated Samayoa’s upbringing and to obtain information concerning the horrendous experiences that might have been responsible for his criminal conduct, I would hold that counsel’s performance in this case was deficient. And in light of the stark gulf between the worthless mitigating evidence presented to the jury and the potentially persuasive mitigating evidence that Samayoa’s counsel failed to present, it seems evident that “[h]ad the jury been able to place petitioner’s excruciating life history on the mitigating side of the scale, there is a reasonable probability that at least one juror would have struck a different balance.” Wiggins, 539 U.S. at 537, 123 S.Ct. 2527. At the very least the jurors would have been given some basis for understanding why Samayoa became what he did and to ponder whether execution is truly the appropriate remedy for someone whose inexplicable conduct may have been the product of the unconscionable physical and psychological abuse to which he was himself subjected. I therefore dissent from the majority’s conclusion that it would have been reasonable for the California Supreme Court to hold that Samayoa was not prejudiced by his counsel’s deficient performance.
I. Deficient Performance
“The proper measure of attorney performance [is] simply reasonableness under prevailing professional norms.” Strickland, 466 U.S. at 688, 104 S.Ct. 2052. As the Supreme Court has explained, “[Representation of a criminal defendant entails certain basic duties.” Id. Among these, “counsel has a duty to make reasonable investigations or to make a reasonable decision that makes particular investigations unnecessary.” Id. at 691, 104 S.Ct. 2052. As the Supreme Court has repeatedly recognized, this duty to conduct reasonable investigations includes a specific “obligation to conduct a thorough investigation of the defendant’s background.” Porter v. McCollum, — U.S. -, 130 S.Ct. 447, 452-53, 175 L.Ed.2d 398 (2009) (quoting Williams v. Taylor, 529 U.S. 362, 396, 120 S.Ct. 1495, 146 L.Ed.2d 389 (2000) (discussing 1980 ABA Standards for Criminal Justice)) (emphasis added); see also Wiggins, 539 U.S. at 523-29, 123 S.Ct. 2527.
In his collateral challenge of his conviction, Samayoa submitted a declaration from Michael Marrinan, who served as his co-counsel during his trial. Marrinan stated that Samayoa’s defense lawyers were unaware of the abusive circumstances in which he was raised and “had no tactical reason for not discovering [his abusive upbringing] and in not presenting this information to ... the jury as mitigation for the crimes.” This concession alone would probably suffice as evidence that, under Strickland, Samayoa’s attorneys did not make “a reasonable decision that [made] *932... investigation [of Samayoa’s background] unnecessary.” Strickland, 466 U.S. at 691, 104 S.Ct. 2052.
However, the record in this case demonstrates that Samayoa’s trial counsel not only failed to discover the abusive circumstances of Samayoa’s childhood, but also actively resisted conducting investigations that would have revealed this information. Maria Pasas, who served as an investigator for the defense during Samayoa’s trial, sent a letter to lead counsel Michael Pop-kins prior to trial informing him that Samayoa’s “family are very quiet and do not give up information easily,” but that “[t]he picture seems to be emerging of a rather marginally functioning family.” On habeas, Pasas provided a declaration stating that despite this letter and despite her attempts to persuade Popkins to investigate Samayoa’s background:
[Samayoa’s] attorneys did not understand or seem interested in the penalty phase. There was no strategizing about the penalty phase and the penalty phase investigation was not up to par.... Mike Popkins did not spend time with [Samayoa’s] family. I had to force him to go see [Samayoa’s] grandma Inez.
Similarly evidencing Popkins’s active unwillingness to investigate Samayoa’s family background is a habeas declaration from Samayoa’s aunt stating that when she was interviewed by Popkins in preparation for the penalty phase,
[Popkins] did not want to hear what I had to say ... The attorney told me that he did not want to hear negative things about [Samayoa] or the family. He did not ask me many questions and he spent less than a half hour with me. If Mr. Popkins had asked or permitted me to tell him about the molests, abuse, violence, alcohol and drug use that existed in my extended family, I would have done so.
This evidence stands uncontradicted in the record. The record thus demonstrates that Samayoa’s counsel did not just fail to conduct even the most cursory of investigations into the possibility that Samayoa was abused, but actively resisted doing so. There is no conceivable strategic basis for Popkins’s failure to so much as ask basic preliminary questions of Samayoa’s family regarding a potentially crucial avenue of mitigation evidence, and, even if there were, the uncontradicted declaration of Michael Marrinan makes clear that trial counsel’s failure to discover Samayoa’s history of physical and psychological abuse was not based upon such “a reasonable decision that makes particular investigations unnecessary.” Strickland, 466 U.S. at 691, 104 S.Ct. 2052.
To be sure, a truly determined and creative jurist could engage in speculation and conjure up fanciful strategic justifications for Popkins’s refusal to investigate Samayoa’s background. One could, if one were particularly imaginative, speculate that Popkins was concerned that questions as to Samayoa’s childhood would alienate his family, and result in their refusal to testify. In such case, the jurors would not have heard that although his family had initially felt that the perpetrator of Samayoa’s offense deserved to be executed, they appreciated the greeting cards he occasionally sent them from prison. Or perhaps Popkins felt that he could not afford to divert his focus from the correctional officers who would testify that Samayoa was an above-average worker. However, even if such flights of fancy could provide a minimally colorable strategic rationale for counsel’s refusal to investigate Samayoa’s background (which they plainly cannot), Samayoa’s lead counsel did not provide any statement to that effect, and second counsel stated that no such strategic calculation justified the refusal to investigate. On the basis of the record before us, it *933would be nigh impossible for a fairminded jurist to deny that the “decision not to investigate [Samayoa’s background] did not reflect reasonable professional judgment.” Porter, 130 S.Ct. at 453. To the extent that the California Supreme Court’s denial of Samayoa’s ineffective assistance claim reflected a contrary conclusion, it was “contrary to, or involved an unreasonable application of,” 28 U.S.C. § 2254(d)(2), Strickland’s requirement that “counsel has a duty to make reasonable investigations or to make a reasonable decision that makes particular investigations unnecessary.” 466 U.S. at 691, 104 S.Ct. 2052.
The majority’s half-hearted effort to suggest that trial counsel’s performance may have been adequate does not address the actual basis of Samayoa’s ineffective assistance claim. That, as the majority emphasizes, Samayoa’s attorneys met with him dozens of times and even spoke with several of his family members is simply irrelevant. Samayoa does not claim that his trial lawyers failed to put in adequate “face time” or that they never met with his family members. Rather, he argues that his defense team deliberately, though inexcusably, refused to so much as consider the possibility that his upbringing was anything other than ideal, failed to investigate the most elementary but critical factual area of mitigation law, and accordingly failed to present in mitigation the only evidence that might have caused one or more jurors to conclude that his brutal criminal history was attributable to anything other than his innate depravity. Innumerable cases and studies show that individuals who commit vicious violent acts are often, like Samayoa, themselves victims of unspeakable past abuse, See, e.g., Wiggins, 539 U.S. 510, 123 S.Ct. 2527; Rompilla v. Beard, 545 U.S. 374, 125 S.Ct. 2456, 162 L.Ed.2d 360 (2005); see also W.H. Auden, September 1, 1939 (“I and the public know / What all schoolchildren learn / Those to whom evil is done / Do evil in return.”), and the Supreme Court has accordingly made clear that evidence of such abuse is of the greatest importance to a jury’s assessment of a defendant’s culpability. See, e.g., Wiggins, 539 U.S. at 535, 123 S.Ct. 2527.
The only argument that the majority provides that is responsive to this claim is its suggestion that counsel’s performance was acceptable because there were no “ ‘red flags’ of abuse that would require further investigation.” In the same footnote in which the majority states that there were no red flags, it quotes extensively from Pasas’s letter to Popkins, while conveniently omitting the letter’s conclusion that “[t]he picture seems to be emerging of a rather marginally functioning family.” Such an observation would have alerted a competent attorney to the possibility that Samayoa’s family background was worth investigating, but evidently this was a possibility in which Pop-kins was not the least bit interested. Moreover, while the absence of “red flags” might possibly excuse a lawyer who simply fails to ask certain questions, it cannot justify a trial attorney’s affirmative rejection of a potentially valuable line of death penalty mitigation evidence, without even the most minimal investigation. In Wiggins v. Smith, 539 U.S. 510, 123 S.Ct. 2527, 156 L.Ed.2d 471 (2003), the Supreme Court found counsel’s penalty-phase performance deficient because “counsel abandoned their investigation of petitioner’s background after having acquired only rudimentary knowledge of his history from a narrow set of sources.” Id. at 524, 123 S.Ct. 2527. Here, counsel actively resisted acquiring even a “rudimentary knowledge” of Samayoa’s family background, let alone undertaking the “requisite, diligent investigation into his client’s troubling background and unique personal circumstances.” Williams v. Taylor, 529 U.S. 362, 415, 120 S.Ct. 1495, *934146 L.Ed.2d 389 (2000) (opinion of O’Con-nor, J.). Such inexplicable unwillingness to discharge one’s basic responsibilities, wholly unredeemed by any identifiable strategic consideration, presents a clear-cut case of deficient performance. Regrettably, rather than acknowledge even that obvious point, the majority decides not to confront the question and concludes instead that “the California Supreme Court was not unreasonable in deciding that the additional evidence of Samayoa’s childhood probably would not have caused a different verdict to be rendered.”
II. Prejudice
To establish prejudice, a habeas petitioner must demonstrate “a reasonable probability that, but for counsel’s unprofessional errors, the result of the proceeding would have been different. A reasonable probability is a probability sufficient to undermine confidence in the outcome.” Strickland, 466 U.S. at 694, 104 S.Ct. 2052. “It is not enough ‘to show that the errors had some conceivable effect on the outcome of the proceeding.’ Counsel’s errors must be ‘so serious as to deprive the defendant of a fair trial, a trial whose result is reliable.’ ” Harrington v. Richter, — U.S. -, 131 S.Ct. 770, at 787-88, 178 L.Ed.2d 624 (quoting Strickland, 466 U.S. at 687, 693, 694, 104 S.Ct. 2052) (citations omitted). Because a unanimous verdict was required to sentence Samayoa to death, however, counsel need only show a reasonable probability that a single juror would have weighed his culpability differently if made aware of the horrendously abusive circumstances in which he was brought up. Here, where the crimes were horrendous, the evidence presented in mitigation utterly impotent, and the mitigation evidence not presented to the jury was powerful and offered the only conceivable explanation for Samayoa’s depraved behavior, I believe that it is self-evident that the unpresented “mitigating evidence ... might well have influenced” one or more jurors’ “appraisal of [Samayoa’s] culpability,” and therefore that “the likelihood of a different result if the evidence had gone in is sufficient to undermine confidence in the outcome actually reached at sentencing.” Rompilla, 545 U.S. at 393, 125 S.Ct. 2456 (citations and internal quotations omitted).

A. Mitigation Evidence Not Investigated or Presented to the Jury

Had Popkins, rather than insisting that he “did not want to hear negative things about [Samayoa] or the family,” conducted an investigation of thé sort conducted by Samayoa’s habeas counsel, he would have uncovered mitigation evidence far more substantial than the majority acknowledges. Samayoa, it turns out, was raised in an extended family in which sexual, physical, psychological, and substance abuse occurred as a matter of course. As one psychology expert retained by Samayoa for his habeas proceedings put it, “[i]n family systems theory, the Gonzales/Samayoa family is a catalogue of classic and severe dysfunction.” The expert described the family as a “locked system that kept its members prisoners to corrosive and corrupt influences from generation to generation.” Another expert stated that Samayoa’s family was “a casting director’s dream of violence, sexual abuse, alcoholism, drug abuse, and criminality.”
Samayoa was raised in a savagely violent family environment. Adult members of his extended family viciously beat one another bloody in front of children at family gatherings “pretty much every weekend.” 3 The declarations of Samayoa’s cousins paint a picture of brutal, senseless violence among family members on a basis *935so routine as to amount to a ritual of sorts: Samayoa’s uncles beating their father (Samayoa’s grandfather) in front of his grandchildren; outsiders at family gatherings being set upon and beaten, parties that “always ended up with major fights and blood on the walls.”4 Not surprisingly for a family in which “[vjiolence was a way of life,”5 Samayoa himself was regularly and severely beaten by his father, who did not work and spent his family’s welfare benefits on liquor. One family member recalls that, “[Samayoa’s] dad would beat the shit out of the boys,” and that Samayoa drew a disproportionate share of his father’s beatings, apparently because he refused to cry. That relative states that, “[w]hen ... [Samayoa] was thirteen or fourteen years old, I saw him get beat five to ten times a month.” Another relative recounts that Samayoa’s father would lie on the family’s couch with a belt rolled up at his side, so that he would be able to beat his children with its buckle at a moment’s notice. Nor were belt buckles his only means of brutalizing his children: Samayoa’s mother recounted that, “[o]nce, when my husband was very angry with Richard, he put Richard’s hands in a flame to punish him.”
In addition to pervasive physical abuse, Samayoa was raised in a family in which sexual abuse of minors at the hands of adult relatives was a common occurrence. During Samayoa’s state habeas proceeding members of Samayoa’s extended family submitted largely consistent declarations attesting to adult relatives’ regular sexual abuse of the Samayoa family’s children. Those declarations discuss family gatherings in which various pedophile uncles enjoyed ready access to Samayoa and his cousins. One of Samayoa’s cousins explained that, “[s]exual molestation happened quite a bit in my family. [Samayoa’s] uncle David Gonzalez molested most, if not all of the kids in [Samayoa’s] generation.” Other males in Samayoa’s family likewise engaged in incestuous sexual abuse of their minor relatives, including Samayoa’s great-uncle Sal Celestin, Samayoa’s second cousin Juan Gonzales, Samayoa’s uncle Eddie, and Samayoa’s uncle “Chat.” While Samayoa denies having been molested himself (as male victims of sexual abuse often do), his relatives suggest that he may well have been molested by his uncle Chat when he was eight or nine years old. Samayoa acknowledges that when he was a child his uncle Chat tried to lure him into his bedroom, but claims he sensed something was amiss, and avoided his uncle’s advances.
Moreover, had Popkins been inclined to investigate Samayoa’s family history, he would have learned that nearly every member of Samayoa’s extended family abused drugs and alcohol, that Samayoa’s father was an alcoholic who frequently wet his pants at family events, and that Samayoa’s uncles were habitual drug users who initiated Samayoa into substance abuse at an early age. At Samayoa family gatherings, adults did not stop young children from simply taking beer from the fridge and drinking it; they were, according to one of Samayoa’s cousins, “too drunk to notice.” Samayoa’s cousin, Benny Girdley, states that when he “was in the fourth grade and ... [Samayoa] was around seven or eight,” they were given pot and alcohol by their substance-abusing uncles. By the eighth grade, Samayoa and Girdley abused hallucinogens together frequently; by the tenth grade, they abused PCP. Not long after, Samayoa and Girdley began using crystal methamphetamine. Samayoa’s abuse of crystal methamphetamine would continue until his arrest in this case.
*936The majority, after considering this same evidence, dismisses his upbringing as, “sadly ... not an uncommon one.” Maj. Op. at 929. I’m not aware how and where my colleagues obtain their information about family life in this country, but I must strongly disagree. Common or not, the defining events of Samayoa’s family life were as follows: near-weekly parties in which he routinely witnessed his adult relatives senselessly beating one another; in which he was given free access to alcohol; and in which he and his cousins were left to their own guile in avoiding sexual abuse at the hands of various pedophile uncles. Away from these parties, Samayoa was constantly and brutally abused by his alcoholic father, and was pushed to abuse serious narcotics by the uncles to whom he looked up. As a psychiatrist retained by Samayoa for his habeas petition put it, “to label Mr. Samayoa’s developmental periods as having significant abuse [would be] a gross understatement. The extended family in which Mr. Samayoa was reared is so extreme as to almost defy belief.” In short, his was hardly an upbringing that was “not uncommon.”
Evidence of Samayoa’s tortured background would have provided the jury with a basis for concluding that he “ha[d] the kind of troubled history [the Supreme Court has] declared relevant to assessing a defendant’s moral culpability.” Wiggins v. Smith, 539 U.S. 510, 535, 123 S.Ct. 2527, 156 L.Ed.2d 471 (2003). As one expert report submitted in support of Samayoa’s habeas petition explains, Samayoa’s criminal history cannot be fully understood apart from his uniquely pathological upbringing:
Mr. Samayoa’s psychological profile is not one that can be easily condensed by the shorthand of conventional psychiatric diagnosis. His behavior can be much better understood when viewed in the context of his longitudinal psychosocial development which was rife with abuse (sexual, physical and emotional), and extreme dyssocialization....
Given this severe dyssocialization rampant throughout most, if not all, of Mr. Samayoa’s life, it becomes understandable that he has frequently interfaced with the criminal justice system. His rearing left him confused in most dealings with other individuals as to appropriate roles and behavior. His upbringing also rendered him incapable of benefitting from feedback correction of his behavior....
In my opinion, the effect of this pervasive dyssocialization upon Mr. Samayoa would be to make his reactions in situations of stress very unpredictable, with exception that they would most likely in all cases suffer from lack of impulse control.... Mr. Samayoa has been so exposed to physically destructive rage in the family setting in which he was reared as to virtually make it normal for him.
The Supreme Court has stated that such evidence regarding a defendant’s troubled background is relevant to death penalty sentencing decisions “because of the belief, long held by this society, that defendants who commit criminal acts that are attributable to a disadvantaged background ... may be less culpable than defendants who have no such excuse.” Penny v. Lynaugh, 492 U.S. 302, 319, 109 S.Ct. 2934, 106 L.Ed.2d 256 (1989). Samayoa’s background was not simply “troubled” or “disadvantaged”; it was cruel, warped, twisted, and pathological. In short, the evidence that Samayoa’s trial counsel neglected was powerful and directly relevant to the sentencing jury’s assessment of Samayoa’s culpability.

B. Mitigation Evidence Actually Presented to the Jury

Having failed to investigate and present to the jury the circumstances of Samayoa’s *937upbringing, his trial counsel instead relied on three types of mitigating evidence, each of which was not only completely unpersuasive, but likely counterproductive. First, Samayoa’s counsel referred the jury to the diagnoses of two psychological experts 6 who had testified before it at the guilt phase of the trial. The experts had told the jury that Samayoa suffered from organic brain damage and could not form the requisite intent to commit first-degree “special circumstance” felony murder, as defined by California at that time. The jury implicitly rejected the testimony of these experts when it convicted Samayoa, and it did so with good reason.7 Both psychologists were manifestly inept and lacked credibility. The first, Dr. Meredith Friedman, conceded under cross-examination that she had made a number of errors in calculating Samayoa’s test results (including several involving simple arithmetic); that she administered an outdated test to Samayoa and was unaware that the test had been substantially overhauled; that her only formal training in neuropsychological evaluation was a week-long training program for the administration of a test other than the one that she administered to Samayoa; and that a number of Samayoa’s test results indicated that he was not brain damaged. This is but a sample of Dr. Friedman’s lack of competence and understanding of the subject matter, as a fuller account would require reprinting a fair amount of her cross-examination.8
The credibility of the second psychological expert upon whom the defense relied, Dr. Saul Saddick, likewise had been destroyed by the prosecution at the guilt phase of the trial. There, one government rebuttal witness testified that Saddick had diagnosed Samayoa with a psychological condition not recognized by the American Psychological Association. Another testified that Saddick had presented to the jury a diagram of the human brain that was upside-down and mislabeled, and observed (perhaps unnecessarily) that a person who could not correctly label a diagram of the brain was not competent to analyze the existence and behavioral implications of brain damage. Moreover, both *938Dr. Friedman and Dr. Saddick might well have bolstered the prosecution’s case for sentencing Samayoa to death by testifying at the trial that they believed him to be a sociopath, a diagnosis that is notoriously unresponsive to treatment, and that any competent defense lawyer would work diligently to avoid introducing into evidence. In short, by the sentencing phase of the trial, Samayoa’s counsel must have been aware that when they testified at the trial his psychological experts had been damaging to the defense, and that the jury had implicitly rejected their brain damage theory by rejecting the defense of inability to form the requisite intent. Nonetheless counsel proceeded to rely upon their prior testimony as the key to defendant’s mitigation case, and sought to find no other experts who might testify at the sentencing hearing and offer testimony that might truly be mitigating. To rely on the trial witnesses’ testimony regarding organic brain damage a second time rather than to seek out and introduce evidence of Samayoa’s shockingly abusive childhood almost certainly sealed his fate.
The second type of mitigating evidence upon which the trial counsel relied was the testimony of three correctional officers who had supervised Samayoa’s work while he was in prison and lukewarmly praised his qualities as a worker. One testified that Samayoa was a “very good worker,” but later stated that Samayoa was an “above-average worker,” and when pressed further, “an okay worker.” Another, testified that “[Samayoa] was an average worker, and sometimes even above average.” Yet a third correctional officer stated that Samayoa’s position as a “beverage man” in the prison cafeteria indicated Samayoa was a reliable worker, but conceded that he had not actually had any hands-on experience working with Samayoa. Much like the psychological “expert” testimony, the prison guards’ testimony was clearly unhelpful and possibly counterproductive, for to present as his best possible witnesses prison guards who testified that he is a “sometimes ... above-average” prison worker suggested that there was truly very little to be said on his behalf.
Finally, counsel presented the testimony of Samayoa’s mother and two sisters. Samayoa’s mother identified several old photographs of Samayoa with his family, showed the jury a Valentine’s Day card he had sent her from prison reading “Sweetheart of the Year,” and related that because she had helped turn Samayoa in to the police, she would feel guilty if he received the death penalty. One of Samayoa’s sisters, Inez Sykes, testified that she had no regrets about turning him in, and that before she learned that her brother was the murderer she had told her family that she felt “a person who’d do something like that deserved anything they had coming to them.” She testified that if he received a death sentence, she would “understand.” His sister Deana testified that Samayoa had a son who was very fond of him, although he rarely saw his father. She further testified that, Samayoa was “not fit to be on the street ... but I would not like to see him get the gas chamber.” Much like her sister Inez, Deana Samayoa testified that before she learned that her brother was the killer, she had told others that she felt whoever was responsible for the killings deserved “to get it.”
Needless to say, the jury was unlikely to be swayed toward mercy by such testimony. Indeed, one would expect that any juror already willing to consider imposing a death sentence would feel validated in doing so by Inez’s testimony that she would “understand” such a vote, not to mention both sisters’ testimony that before learning of Samayoa’s guilt they had felt that the perpetrator of his offenses deserved the death penalty. Moreover, the testimony of Samayoa’s relatives gave the *939jury the impression that Samayoa committed his crimes despite coming from a normal and loving family background, when in fact nothing could have been further from the truth.
In sum, this pathetic mitigation presentation likely did more harm than good to Samayoa’s prospects of a sentence other than death. Trial counsel asked the jury to spare Samayoa’s life based upon the prior testimony of psychological experts whose many blunders included basic mathematical mistakes, the administration of an outdated test, the mislabeling of an upside-down diagram of the human brain, and the diagnosis of Samayoa as a sociopath. He also presented the testimony of three prison guards who testified principally that Samayoa was somewhat above-average for a prison worker, and of family members who testified that they loved Samayoa and would feel guilt if he were executed because they turned him in, but would understand if the jury chose a death sentence. At no point did the jury hear a word about Samayoa’s depraved and abusive upbringing, and, in fact, it was led to believe by the testimony of his mother and sisters that he was raised in a normal and loving household.

C. Confidence in the Outcome

The question before this court is whether the California Supreme Court unreasonably applied United States Supreme Court law in its apparent conclusion that there was not “a reasonable probability that, absent [counsel’s] errors, the [jury] ... would have concluded that the balance of aggravating and mitigating circumstances did not warrant death.” Strickland, 466 U.S. at 694, 104 S.Ct. 2052. A reasonable probability is a probability of a different verdict that is “sufficient to undermine confidence in the outcome.” Id. at 695, 104 S.Ct. 2052. Because a unanimous verdict was required to produce a death sentence in this case, one cannot be confident in Samayoa’s death sentence unless one is confident that not a single one of the twelve jurors would have been moved to vote for a sentence of life without parole had he heard the unpresented evidence of Samayoa’s physically and psychologically abusive childhood.
The jury was instructed that:
[t]he weighing of aggravating and mitigating circumstances does not mean a mere mechanical counting.... You are free to assign whatever moral or sympathetic value you deem appropriate to each and all of the various factors that you are permitted to consider.
The evidence that was not presented was of crucial importance to the individualized, open-ended moral deliberation in which the jury was instructed to engage. As noted earlier, the Supreme Court has explained that a defendant’s “troubled history” is “relevant to assessing a defendant’s moral culpability,” Wiggins, 539 U.S. at 535, 123 S.Ct. 2527, “because of the belief, long held by this society, that defendants who commit criminal acts that are attributable to a disadvantaged background ... may be less culpable than defendants who have no such excuse.” Penry v. Lynaugh, 492 U.S. 302, 319, 109 S.Ct. 2934, 106 L.Ed.2d 256 (1989) (quoted in Wiggins, 539 U.S. at 535, 123 S.Ct. 2527).
Each of the twelve jurors would have almost certainly differed to some degree with respect to how much “moral or sympathetic value” he chose to assign to the nightmarish circumstances of Samayoa’s childhood and the effect it had on him during his adulthood. Given that each juror in this case was called upon to weigh the aggravating and mitigating circumstances in light of his own empathy and moral judgment, counsel’s failure to inform the jury that Samayoa was raised in an unimaginably abusive environment, both physically and emotionally, would, alone, suffice to call into question any “reliance *940on the outcome of the proceeding.” Strickland, 466 U.S. at 692, 104 S.Ct. 2052. But this case involves more than just counsel’s failure to obtain and present readily available evidence going directly to Samayoa’s moral responsibility; for what the jury heard instead was a mitigation case that almost certainly sealed Samayoa’s death sentence, a case consisting of discredited experts, lukewarm prison guards, and family members who misleadingly testified that Samayoa was raised in a loving environment. I therefore would hold, in line with Porter, 130 S.Ct. 447, Rompilla, 545 U.S. 374, 125 S.Ct. 2456, and Wiggins, 539 U.S. 510, 123 S.Ct. 2527, that it would have been an unreasonable application of Strickland for the state court to conclude that Samayoa was not prejudiced by his counsel’s inexcusable performance.
In coming to a contrary conclusion,9 the majority first emphasizes the undeniable brutality of Samayoa’s crime, as well as that of his prior offenses. However, in Rompilla, 545 U.S. 374, 125 S.Ct. 2456, the Supreme Court held that a defendant with a similarly brutal crime and a similar criminal record was entitled to habeas relief due to his counsel’s failure to introduce evidence of a traumatic, abusive upbringing. The defendant in Rompilla was convicted of murdering his victim during the course of a robbery in which he stabbed the victim multiple times, “including 16 wounds around the neck and head,” id. at 397, 125 S.Ct. 2456, beat the victim with a blunt object, and gashed the victim’s face, “possibly with shards from broken liquor and beer bottles found at the scene of the crime,” id. He then set his victim’s body on fire. Id. Moreover, like Samayoa, the Rompilla defendant had a “significant history of felony convictions,” id. at 378, 125 S.Ct. 2456, including a rape conviction for an offense in which he held his victim at knifepoint, slashed her breast, and “raped her for over an hour,” id. at 402, 125 S.Ct. 2456 (Kennedy, J., dissenting). Despite the brutality of the offense and past convictions in Rompilla, the Court nonetheless held that the defendant was prejudiced by his counsel’s failure to investigate and provide the jury with certain mitigating evidence, such as the fact that Rompilla had abused alcohol from an early age and been raised in a highly abusive environment. Id. at 391-93, 125 S.Ct. 2456. While this case and Rompilla differ in some factual respects, as any two cases necessarily will, Rompilla’s holding forecloses the majority’s pat conclusion that because Samayoa’s crime and past convictions were brutal the judicial system need not concern itself with the fact that he was sentenced to death despite his attorney’s failure to investigate or present the jury with the powerful mitigating evidence of his horrendous upbringing and the shocking abuse to which he was subjected throughout his youth.10
*941The majority next suggests that counsel’s failure to introduce any evidence of Samayoa’s upbringing did not prejudice him because the evidence of organic brain injury that was presented during the guilt phase of his trial is a type of evidence that is “more significant” than “environmental factors.” Maj. Op. at 929 (quoting Sears v. Upton, — U.S. -, 130 S.Ct. 3259, 3262, 177 L.Ed.2d 1025 (2010)). Even if it is true that evidence of organic brain damage is, as a general matter, “more significant” than evidence of childhood abuse, that is certainly not the case where the defense’s psychological experts are exposed as inept and are discredited, and the jury has already implicitly rejected their testimony that the defendant suffers from organic brain damage. Actual evidence of many years of severe physical and psychological abuse is undeniably “more significant” than evidence of organic brain damage that is not credible, and that has already been rejected by the very jury that will determine the capital defendant’s fate. Here, counsel failed entirely to present uncontroverted mitigating evidence that is of undeniable import, choosing instead to refer the jury to the discredited evidence it had already rejected.
III. Conclusion
Recently, in an en banc opinion joined by one member of the majority, this court held that the “dynamics of the jury process” are so delicate that if a jury reports that it is unable to agree upon a final sentence in a capital case in which it is presented with a number of sentencing choices, a trial judge should not be required to ask if the jury is deadlocked on the question of eligibility for the death penalty, for fear that such questioning might somehow influence the jury’s deliberations. See Harrison v. Gillespie, 636 F.3d 472 (9th Cir.2011). This court’s belief that a jury’s decision in a capital case can be so easily swayed led to the conclusion in Harrison that the Double Jeopardy Clause did not bar the defendant from being charged with capital murder a second time, even though the jury in his first trial appeared to have concluded that he was not eligible for execution. In the present case, a belief that juries can be so easily swayed would compel a finding that Samayoa was prejudiced by his trial counsel’s failure to introduce mitigating evidence of the nature that the Supreme Court has repeatedly held to be relevant to a jury’s assessment of a capital defendant’s culpability. Yet here, my colleagues’ view that even a judge’s questions might influence a jury’s verdict in a capital sentencing case has mysteriously disappeared and is nowhere to be found in the majority opinion. Instead they find the failure of counsel to inform the jury of the mitigating evidence most relevant to the question of the appropriate punishment to be of no possible consequence.
The Supreme Court’s ineffective assistance of counsel jurisprudence calls upon us to determine how each member of a jury that was convened twenty-three years ago would have responded to evidence that *942was never presented to it. In light of the significant difficulties inherent in such speculation, I believe that it is an act of significant hubris for the majority to assure us, on the basis of a highly abbreviated analysis, that the California Supreme Court would have been reasonable in concluding that Samayoa was not prejudiced by his counsel’s incompetence. It is, without question, difficult to speculate intelligently as to how each of twelve jurors would have responded to the evidence that Samayoa’s trial attorney failed to present. For that very reason, when the deprivation of a defendant’s constitutional rights results in the jury’s not hearing the only mitigating evidence that could have led to a sentence other than death, I think it clear that the “errors [are] so serious as to deprive the defendant of a fair trial, a trial whose result is reliable.” Strickland, 466 U.S. at 687, 104 S.Ct. 2052. Here, however, the majority and I need not decide this case on that basis alone: it is clear both under the facts and on the law that the evidence that Samayoa’s counsel failed to investigate, discover, and present to the jury deprived the jurors of the opportunity to consider the substantial damage wreaked on Samayoa during his childhood and its relation to his subsequent criminal conduct. Counsel’s unquestionably ineffective performance with regard to this critical mitigating evidence necessarily undermines one’s confidence in the jury’s verdict.
I dissent.

. Specifically, one of Samayoa’s experts, Dr. Saul Saddick, testified that Samayoa suffered from "Organic Rage Reaction.” A government rebuttal expert noted that "Organic Rage Reaction” is not a condition recognized by the American Psychological Association. Even today, more than twenty years later, a Google search for "Organic Rage Reaction” returns only three results, all of which are documents arising from Samayoa’s litigation that note there is no such condition as "Organic Rage Reaction.”


. One correctional officer began by testifying that Samayoa was a “very good worker,” and only later revised his assessment by stating that Samayoa was an "above-average worker.” Shortly thereafter, that guard stated that Samayoa was, "an okay worker.”


. Declaration of Marie Alarcon.


. Declaration of Bernadene Severas.


. Declaration of Marie Alarcon.


. A third expert, Dr. Melvin Schwartz, was called by the defense as a sur-rebuttal witness. Dr. Schwartz testified that although he had not himself tested Samayoa for brain damage, he had reviewed test results compiled by one of Samayoa’s two main experts, Dr. Saul Saddick, and believed that they supported a diagnosis of left-hemisphere brain damage. Dr. Schwartz further testified that he believed Dr. Saddick to have over-diagnosed brain damage in other cases, and that he had testified in an earlier case that he ’’believe[d Dr. Saddick] to be trained rather than well trained.”


. While it is of course possible that in some cases the jury would reject organic brain damage as a reason to negate intent, but still be influenced by it in its assessment of a defendant’s culpability, counsel clearly had no basis to expect the jury to do so here, where the record reflects that the defense's psychological experts blundered repeatedly and were generally lacking in competence.


.Consider, for example, the following exchange:
Q: I am asking you to localize the injury based upon the results of your tests, if you are capable of doing that.
A: Well, the injury wasn't localized. The injury — and I don't even know if it was an injury. We are talking about dysfunction. I don’t know if it came from an injury or not....
Q: ... Locate, if you can, the specific area of the dysfunction within those specific parts of the brain.
A: I can’t.
Q: Okay. Because it’s impossible to do that, or you don't have the training?
A: I think somebody who may be more sophisticated in this would be able to pinpoint it better. I am just saying that this is what the test suggested.


. The majority applies an incorrect standard. The question is not, as the majority suggests, whether effective assistance of counsel "probably would not have produced a different verdict.” Maj. Op. at 921. Strickland clearly states that, "a defendant need not show that counsel's deficient conduct more likely than not altered the outcome in the case.” 466 U.S. at 693, 104 S.Ct. 2052. However, despite applying the wrong standard the majority appears to conclude that counsel’s failure to present the troubling circumstances of Samayoa's upbringing and his decision to instead present a mitigation case that would almost certainly lead to a sentence of death, is not "sufficient to undermine confidence” in Samayoa’s death sentence. Accordingly, we can overlook that particular error.


. The majority emphasizes the Supreme Court’s recent statement in Wong v. Belmontes, - U.S. -, 130 S.Ct. 383, 175 L.Ed.2d 328 (2009), that it is "hard to imagine” that the defendant in that case, who was convicted of a brutal murder, would have received a lesser sentence had his counsel presented additional evidence regarding his abusive childhood. However, the facts that *941the Supreme Court felt were unlikely to sway the jury in that case were that the defendant’s baby sister died of a brain tumor when he was five years old, that his grandmother suffered from alcoholism and prescription drug addiction, and that his extended family lived in a state of "constant strife.” Id. at 388. Those facts, while far from a picture of a happy childhood, pale in comparison to the deranged and profoundly abusive environment in which Samayoa was raised. Moreover, Belmontes did not purport to overrule Rompilla. There is no presumption that a jury will necessarily sentence to death any individual convicted of a particularly brutal offense. At present the law provides that even individuals convicted of particularly brutal crimes have a Sixth Amendment right to effective representation during the penalty phase of their proceedings.

